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   Form 507
                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA


   IN RE:

   Timothy M. Barrett                                :   Bankruptcy No.: 17−20621−CMB
        Debtor(s).                                   :
                                                     :   Chapter: 7
                                                     :
                                                     :   Related to Doc. No.: 120
                                                     :


                           ORDER & NOTICE SETTING DATE CERTAIN
                           FOR RESPONSE AND HEARING ON MOTION

      AND NOW, this The 8th of March, 2019, a Motion to Dismiss ("Motion") having been filed in
   the above−captioned case,

       It is hereby ORDERED that Movant shall immediately serve the Motion and this Order and
   Notice on, as applicable, the following: all respondents and parties in interest and their counsel,
   Debtor(s), Debtor(s)' counsel, the United States Trustee, and/or the Trustee. At times, service on the
   entire matrix may be required. Service shall be made in accordance with the Federal Rules of
   Bankruptcy Procedure, the Local Rules of this Court, and the general procedures of the Undersigned
   Judge as found on the Court's webpage at www.pawb.uscourts.gov. A Certificate of Service shall be
   filed forthwith in compliance with the Local Bankruptcy Form.

      Respondent(s), you are hereby notified that the Movant(s) seek(s) an order affecting your rights or
   property. Respondent(s) may wish to take this Order and Notice and the Motion to a lawyer at once.

       Respondent(s) are hereby instructed to file with the Clerk and serve upon Movant(s) and counsel
   for Movant(s) a response to the Motion by no later than 3/26/19.

      A hearing will be held on April 9, 2019 at 01:30 PM in Courtroom B, 54th Floor, U.S. Steel
   Tower, 600 Grant Street, Pittsburgh, PA 15219 . Only a limited time of ten (10) minutes is being
   provided on the calendar. No witnesses will be heard. If there is an issue of fact, an evidentiary
   hearing will be scheduled by the Court for a later date.

      If Respondent(s) fail to timely file and serve a written response, an order granting the relief
   requested in the Motion may be entered and the hearing may not be held. Movant(s) shall refer to the
   Undersigned Judge's Procedures posted on the Court's webpage regarding the filing of Certifications
   of No Objection. In the event that no response to the Motion is filed, a Certification of No
   Objection shall be filed at least three full business days before the scheduled hearing date. The
   parties shall refer to the calendar posted on the Court's webpage to verify if a default order was
   signed or if the hearing will go forward as scheduled.




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      Pursuant to the Undersigned Judge's Procedures, in the event that the parties are able to resolve
   their dispute(s), any consensual order filed with the Court shall be accompanied by a
   Certification of Counsel advising that all necessary parties consent to the entry of the order.

      Telephonic participation in the hearing may be permitted as set forth in the Undersigned Judge's
   Procedures. Arrangements must be made by calling the courtroom deputy at least three full business
   days prior to the scheduled hearing.

      If the Motion includes a request for an extension of time, the time is extended pending the
   outcome of the hearing.

   Dated: March 8, 2019

   cm: Timothy M. Barrett




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